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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )           CASE NO. 8:04CR244
                                              )
      vs.                                     )
                                              )                    ORDER
ENRIQUE GARCIA-SANCHEZ,                       )
                                              )
                    Defendant.                )



      This matter is before the Court on the Unopposed Motion for Continuance of

Sentencing Schedule filed by the Defendant, Enrique Garcia-Sanchez (Filing No. 80).

      For good cause shown, the Motion shall be granted.

      IT IS ORDERED:

      1.     The Unopposed Motion for Continuance of Sentencing Schedule filed by

             the Defendant, Enrique Garcia-Sanchez (Filing No. 80) is granted;

      2.     Sentencing is rescheduled before District Judge Laurie Smith Camp on

             the 18th day of July, 2005, at the hour of 11:00 a.m. in Courtroom No. 2,

             Third Floor, Roman L. Hruska Courthouse, 111 S. 18 th Plaza, Omaha,

             Nebraska.

      Dated this 10th day of June, 2005.

                                                  BY THE COURT:

                                                  s/Laurie Smith Camp
                                                  United States District Judge
